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AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a 2Criminal Case for Revocation



                                    United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                                                          (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
                               v.
                                                                          Criminal Number: 2:08CR0004-02

               CHRISTOPHER LILLER
                      (Defendant’s Name)                                  Timothy Zindel, Asst. Federal Defender
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charges 1, 2, & 3 as alleged in the superseding violation petition filed on 5/14/2013 .
[]  was found in violation of condition(s) of supervision as to charge(s)    after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Number                     Nature of Violation                                     Date Violation Occurred
1                                    Failure to Contact Probation Officer W ithin 72         2/27/2013
                                     Hours of Law Enforcem ent Contact
2                                    Failure to Notify the Probation Office within 10        2/27/2013
                                     Days Prior to Any Change in Residence
3                                    Failure to Follow the Instructions of the               5/9/2013
                                     Probation Officer

The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 10/2/2009 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[U]      Charge 4 and the Underlying Petition are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                July 1, 2013
                                                                Date of Im position of Sentence




                                                                 S ignature of Judicial O fficer



                                                                W ILLIAM B. SHUBB, United States District Judge
                                                                Nam e & Title of Judicial Officer

                                                                July 9, 2013
                                                                Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:08CR0004-02                                                                   Judgment - Page 2 of 2
DEFENDANT:                CHRISTOPHER LILLER



                                                        IMPRISONMENT
The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a total term
of six (6) m onths .




[]      No TSR: Defendant shall cooperate in the collection of DNA.

[U]     The court m akes the following recom m endations to the Bureau of Prisons: The Court recom m ends that the
        defendant be incarcerated at the facility in Herlong, California, but only insofar as this accords with security
        classification and space availability.


[U]     The defendant is rem anded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at     on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                  Deputy U.S. Marshal
